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          IN THE U.S. DISTRICT COURT FOR THE DISTRICT OF KANSAS

Stonehouse Rentals Inc. and Salah Ibrahim,
      Plaintiffs,                                          Case No. 17-cv-04046-JAR-GLR
                                                           Division No.
             VS.

Patrick Doran;
       Defendant.


   MOTION TO WITHDRAWAL AS COUNSEL FOR PLAINTIFFS STONEHOUSE
                  RENTALS INC. AND SALAH IBRAHIM



      COMES NOW, Rick Davis, Counsel for the Plaintiffs Stonehouse Rentals Inc. and

Salah Ibrahim and moves this Court for an Order allowing him to Withdraw as counsel for

Stonehouse Rentals Inc. and Salah Ibrahim pursuant to Local Rule 83.5.5:

   1) Movant offers that good cause exists to allow the withdrawal of counsel prior to the

      entry of new counsel, but that disclosure of said good cause in this Motion could

      violate the Plaintiffs’ attorney-client privilege.

   2) Movant has provided the Plaintiffs with notice of the outstanding issues and

      deadlines in the case, the date and time of the next hearing or appearance, and

      advised Plaintiffs of their obligation to comply with said deadlines and requirements

      prior to the fling of this Motion. A copy of said notice is attached to this Motion as

      Exhibits A and B.

   3) After withdrawal, the mailing address for Stonehouse Rentals Inc. and Salah

      Ibrahim is PO Box 881, Lawrence, KS 66044.

   4) Plaintiff’s Counsel has served a copy of this Motion on its client via certified mail

      to the client’s home address and post office box. Furthermore, this Motion was
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       sent via email to the email address the client regularly uses to correspond with its

       counsel.

       WHEREFORE Plaintiffs’ Counsel respectfully requests that this Court enter an

Order allowing him to withdraw as counsel for Stonehouse Rentals Inc. and Salah

Ibrahim, and for such other relief as the Court deems just and fit in this Situation.

                                           Respectfully Submitted,

                                             /s/ Rick Davis
                                           Rick Davis #25671
                                           Rick Davis Legal
                                           Atorrney for Stonehouse Rentals Inc. and Salah
                                           Ibrahim
                                           8826 Santa Fe Dr, Ste 100
                                           Overland Park, KS 66212
                                           Phone: (913) 210-1847
                                           Email: rick@rickdavislegal.com
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                             CERTIFICATE OF SERVICE

       The undersigned does hereby declare that a copy of the foregoing was delivered
to the below parties via email on September 4, 2017 or if no email address is provided
below, the document was mailed to the below parties via U.S. Mail, postage prepaid on
the same date.

Patrick Doran
Doran Law Office
4324 Belleview Ave
Kansas City, MO 64111
pjdoran@doranlaw.net
Attorney for Patrick Doran


                                        /s/ Rick Davis
                                       Rick Davis #25671
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Exhibit 1 – Letter to Stonehouse Rentals Inc. and Salah Ibrahim
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Exhibit 1 – Letter to Stonehouse Rentals Inc. and Salah Ibrahim
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Exhibit 2 – Matters Summary
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Exhibit 2 – Matters Summary
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Exhibit 2 – Matters Summary
